          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:07CR33


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )      AMENDED ORDER
                                          )
                                          )
JOHN WILSON PATTON                        )
                                          )


      THIS MATTER is before the Court sua sponte to amend the previous

Order, filed February 1, 2008, which provided that the sentencing of

Defendant be continued pending evaluation “by at least one qualified

psychiatrist pursuant to 18 U.S.C. § 4241(b) and Fed. R. Crim. P. 12.2 to

determine if the Defendant was, at the time he entered his not guilty plea

and decided to proceed to trial, then insane or otherwise so mentally

incompetent as to be unable to understand the criminal proceedings

against him, to understand the consequences of entering a plea of not

guilty and proceeding to trial, or to properly assist in his defense during the

course of trial.” Order, filed February 1, 2008, at 2 (emphasis added).




   Case 1:07-cr-00033-MR-WCM      Document 231     Filed 04/04/08   Page 1 of 3
                                       2

       The Bureau of Prisons has advised the Court that no psychiatrist is

available to evaluate Defendant, but that psychologists are readily

available to do so. In light of the fact that the enabling statutes, 18 U.S.C.

§ 4241(b) and Fed. R. Crim. P. 12.2, give the Court discretion as to

whether to appoint a psychologist or a psychiatrist, the Court will alter its

previous Order to allow Defendant to be evaluated by a psychologist.

       IT IS, THEREFORE, ORDERED that the Court’s Order of February

1, 2008, is hereby amended as follows:

1.     The last full sentence on page 2 is amended to state, “At that point,

       the Court continued the sentencing hearing and directed the

       Defendant to undergo a mental health evaluation.”

2.     The first ordering paragraph on page 2 is amended to state, “The

       Defendant shall be examined by at least one qualified psychologist

       pursuant to 18 U.S.C. § 4241(b) and Fed. R. Crim. P. 12.2[.]”

3.     The second ordering paragraph on Page 4 is amended to state, “the

       psychologist, as designated by the Attorney General to examine the

       Defendant[.]”

       IT IS FURTHER ORDERED that the Clerk transmit this Order

electronically to Defendant’s counsel, the United States Attorney, the



     Case 1:07-cr-00033-MR-WCM    Document 231    Filed 04/04/08   Page 2 of 3
                                     3

United States Marshal, the United States Probation Office, and by facsimile

transmission to the attention of Michelle Fuseyamore of the Bureau of

Prisons, at telephone number 301/317-3132.

                                     Signed: April 3, 2008




                                  SEALED DOCUMENT with access to All Parties/Defendants




   Case 1:07-cr-00033-MR-WCM    Document 231         Filed 04/04/08        Page 3 of 3
